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                  UNITED STATES BANKRUPTCY COURT FOR THE
                      SOUTHERN DISTRICT OF MISSISSIPPI

In re: Jessie Bernard                                                          CHAPTER 13
        Debtor                                                        CASE NO. 19-01861-NPO

                 OBJECTION TO CHAPTER 13 PLAN CONFIRMATION

        COMES NOW, Specialized Loan Servicing LLC as servicing agent for Deutsche Bank

National Trust Company, as Trustee for HIS Asset Securitization Corporation Trust 2006-

WMC1, Mortgage Pass-Through Certificates, Series 2006-WMC1 (“Objector”), a secured

creditor herein, and objects to confirmation of the Chapter 13 Plan on the following grounds:

        1.    Objector holds a claim against the Debtor which is secured by certain real estate

located at 5590 Nailor Road, Vicksburg, MS 39180 (“Property”).

        2.    Debtor’s Chapter 13 Plan proposes to pay the arrears at $12,000.00 and post-

petition monthly payments at $1,300.00.

        3.    The actual amount of arrears is $14,827.69 and the actual amount of post-petition

monthly payments is $1,338.54.

        WHEREFORE, PREMISES CONSIDERED, Objector files its Objection to Chapter

13 Plan Confirmation and prays for a payment of the full amount of arrears of $14,827.69 and

the post-petition monthly payments of $1,338.54 and for such other and more general relief as is

just.

                                            Respectfully submitted,

                                            BENNETT LOTTERHOS SULSER
                                            & WILSON, P.A.

                                            /s/ Charles Frank Fair Barbour
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Charles Frank Fair Barbour, MSB # 99520
BENNETT LOTTERHOS SULSER
& WILSON, P.A.
190 East Capitol Street, Suite 650 (39201)
Post Office Box 98
Jackson, Mississippi 39205-0098
Telephone: (601) 944-0466
Facsimile:    (601) 944-0467
cbarbour@blswlaw.com


                                CERTIFICATE OF SERVICE

        I, Charles Frank Fair Barbour, do hereby certify this day that I electronically filed the
above and foregoing with the Clerk of the Court using the ECF system which sent notification of
such filing to the following:

       Robert Rex McRaney, Jr. at mcraneymcraney@bellsouth.net

       Harold J. Barkley Jr. at HJB@HBarkley13.com

       US Trustee at USTPRegion05.AB.ECF@usdoj.gov

                                            /s/ Charles Frank Fair Barbour




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